  Case 3:18-cv-00428-DMS-MDD Document 123 Filed 07/19/18 PageID.2332 Page 1 of 4




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15                                 UNITED STATES DISTRICT COURT
16
                                SOUTHERN DISTRICT OF CALIFORNIA
17
18
     MS. L,, et al.                             Case No. 18cv428 DMS MDD
19
20                    Petitioner-Plaintiff,
                                                NOTICE OF “APPEARANCE”
21         vs.
22
   U.S. IMMIGRATION AND CUSTOMS
23 ENFORCEMENT, et al.,
24
                      Respondents-Defendants.
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  Case 3:18-cv-00428-DMS-MDD Document 123 Filed 07/19/18 PageID.2333 Page 2 of 4




 1 TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:
 2
 3         I, the undersigned attorney, enter my appearance as counsel for the Federal

 4 Respondents-Defendants in the above-captioned case. I certify that I am authorized to
 5
   practice under CivLR 83.3.c.3. I should receive all future Notices of Electronic Filings
 6
 7 relating to activity in this case at the following e-mail address:
 8                august.flentje@usdoj.gov
 9
     This notice is purely for the purpose of obtaining Notices of Electronic Filings in this case
10
11 and does not constitute a waiver of any defense or objection, including but not limited to
12 personal jurisdiction, sufficient process, sufficient process of service and proper venue.
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         Please feel free to contact me should you have any questions regarding this notice.
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 1 DATED: July 18, 2018              Respectfully submitted,
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 Case 3:18-cv-00428-DMS-MDD Document 123 Filed 07/19/18 PageID.2335 Page 4 of 4




 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on July 19, 2018, I electronically filed the foregoing with the
 3
     Clerk for the United States District Court for the Southern District of California by using
 4
 5 the appellate CM/ECF system. A true and correct copy of this motion has been served via
 6
     the Court’s CM/ECF system on all counsel of record.
 7
                                           /s/ August E. Flentje
 8
                                           AUGUST E. FLENTJE
 9                                         U.S. Department of Justice
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